Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
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          Go Capital
          Statement of Income                                                   DRAFT FINANCIALS
          AUGUST 2018
          Issued:   September 13, 2018                                                                     08.2018
                                                            NFC                      GCF                 Consolidated

          Revenue
               Servicer Fee / (Servicer Expense)                     919,979                 (919,979)                  -
               Finance Income                                            -                  8,315,161             8,315,161
               Doc Fees                                               10,793                      -                  10,793
               Fees: Late, NSF, Other                                    -                    165,043               165,043
               Residual Income (Book Basis)                           72,000                  810,150               882,150
               Residual Income (Cash Basis)                              -                    187,042               187,042
          Total Revenue                                            1,002,772                8,557,416          9,560,188.19

          Cost of Sales
               Commission                                               -                        -                      -
               IDC - Initial Direct Costs                               -                    353,679                353,679
               IDC - To Balance Sheet                                   -                        -                      -
               Referral Fees - Dealer                                  (380)                     -                     (380)
               Referral Fees - Program                                  -                        -                      -
               Referral Fees - Broker                                   -                        -                      -
               Referral Fees - TopMark                                  -                        -                      -
               Credit Reports                                        39,266                      -                   39,266
               GPS Units                                                -                        105                    105
               Shipping / Overnight Fees                             11,548                      -                   11,548
               Other COS                                              3,048                      -                    3,048
          Total Cost of Sales                                        53,482                  353,784                407,266


          Income Before Operating Expense                           949,290                 8,203,632              9,152,922

          Operating Expenses
               Marketing                                              15,556                     -                    15,556
               Payroll                                               719,165                     -                   719,165
               Payroll Taxes                                          62,494                     -                    62,494
               Payroll Processing Fees                                10,704                     -                    10,704
               Employee Benefits                                      88,723                     -                    88,723
               Rent / Related                                        239,491                     -                   239,491
               Office Supplies                                         3,796                     -                     3,796
               Job Postings / Assessments (WL & DiSC)                  1,724                     -                     1,724
               Accounting (Audit & Tax)                                  -                       -                       -
               Legal                                                 163,960                     -                   163,960
               Technology                                             96,950                     -                    96,950
               Meals & Entertainment                                     295                     -                       295
               Travel & Lodging                                        1,172                     -                     1,172
               Insurance                                             108,411                     -                   108,411
               Consulting Fees                                         1,750                     -                     1,750
               Repossessions                                             -                   762,329                 762,329
               Other Expenses                                         24,518                     -                    24,518
          Total Operating Expenses                                 1,538,707                 762,329               2,301,036

          Income From Operations                                   (589,417)                7,441,303              6,851,886

          Other income (expense)
               Interest Expense                                    (644,515)             (4,446,076)             (5,090,590)
               Debt Transaction Costs Amort                         (19,079)                    -                   (19,079)
               Bank & Trust Fees                                        -                   (49,926)                (49,926)
               Credit Card Processing Fees                              -                  (144,101)               (144,101)
               Depreciation                                        (185,883)                    -                  (185,883)
               Miscellaneous                                          3,531                     -                     3,531
               Accrual for Loss Reserve                                 -                (5,909,110)             (5,909,110)
          Total Other Income                                       (845,946)            (10,549,213)            (11,395,159)

          Income Before Taxes                                     (1,435,363)              (3,107,909)           (4,543,273)

          Provision for Taxes                                      (8,776.71)                     -                  (8,777)
          Net Income                                              (1,444,140)              (3,107,909)           (4,552,049)
          % of Revenue                                     -144%                     -36%                   -48%
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          Go Capital
          Balance Sheet                                                         DRAFT FINANCIALS
          AUGUST 2018
          Issued: September 13, 2018                                                                       08.2018
                                                             NFC                     GCF                 Consolidated

          ASSETS
              Cash                                                    79,827              1,735,722               1,815,549
                  Available Cash                                      79,827                    -                    79,827
                  Restricted Cash                                        -                1,735,722               1,735,722
              Notes Receivable                                       500,000                    -                   500,000
              Accounts Receivable                                  3,863,232                 74,275               3,937,508
              Prepaid Expenses                                        34,575                    -                    34,575
              Fixed Assets                                           450,033                    -                   450,033
              Other Assets - Debt Issuance                           135,215                    -                   135,215
              NBV Portfolio                                              -               19,679,206              19,679,206
                  Lease Receivable                                       -               30,538,118              30,538,118
                  Lease Unearned Income                                  -              (10,858,912)            (10,858,912)
              Residual Book Value                                    311,502              2,015,653               2,327,155
                  Residual Receivable                                506,187              4,509,994               5,016,181
                  Unearned Income                                   (194,685)            (2,494,341)             (2,689,026)
              IDC                                                        -                  416,845                 416,845
              Inventory                                                  -                1,623,723               1,623,723
                  Off Lease - Held for Sale                              -                  437,763                 437,763
                  Repossession in Process                                -                1,185,960               1,185,960
              Loss Reserve                                               -               (2,490,772)             (2,490,772)
                  Required Accrued Loss Reserve                          -              (32,857,948)            (32,857,948)
                  Charges to Loss Reserve                                -               30,367,176              30,367,176
          TOTAL ASSETS                                             5,374,385             23,054,651              28,429,037

          LIABILITIES
               Payables / Accrued Expenses                      1,515,128                  254,688               1,769,816
               Customer Deposits / Security Deposits                  -                     76,219                  76,219
               Payable to Dealers                                     -                        -                       -
               Notes Payable                                          -                        -                       -
               Portfolio Debt                                         -                 28,455,635              28,455,635
                   KLS                                                -                 28,455,635              28,455,635
               Non-Portfolio Debt                              32,873,962                      -                32,873,962
                   Existing Subordinated Debt                  32,873,962                      -                32,873,962
          TOTAL LIABILITIES                                    34,389,090               28,786,542              63,175,632

          EQUITY
              Paid In Capital                                      250,000                        -                250,000
              Retained Earnings (Current Period)                (1,444,140)                (3,107,909)          (4,552,049)
              Retained Earnings (Prior Period)                 (27,375,566)                (2,623,981)         (29,999,546)
              Distribution to Shareholders                        (445,000)                       -               (445,000)
          TOTAL EQUITY                                         (29,014,706)                (5,731,891)         (34,746,595)

          TOTAL LIABILITIES & EQUITY                               5,374,385            23,054,651              28,429,037
                                                                         -                     -                       -
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Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
Filed 09/14/18   Case 18-20668   Doc 246
    Date     Check Number   Amount                 Description                            Vendor
                                                                                                              Filed 09/14/18




08/08/2018   35175              (15.00)   CHECK                       SC DMV
08/10/2018   35186             (125.00)   CHECK                       All American Recovery of Jacksonville
08/10/2018   35187             (125.00)   CHECK                       All American Recovery of Jacksonville
08/01/2018   35242              (35.00)   CHECK                       SC DMV
08/06/2018   35318             (300.00)   CHECK                       Data Linx
08/08/2018   35327             (200.00)   CHECK                       G & R Recovery
08/01/2018   35329              (15.00)   CHECK                       VA DMV
08/03/2018   35331               (6.00)   CHECK                       Grayson County Clerk
08/03/2018   35332           (5,338.20)   CHECK                       NFP Property & Casualty
08/06/2018   35333          (21,486.51)   CHECK                       Shea Center Roseville I, LLC
08/13/2018   35335           (5,302.08)   CHECK                       North Carolina Department of Revenue
08/17/2018   35336             (750.00)   DEPOSITED OR CASHED CHECK   Premier Recovery Services
08/14/2018   35337             (231.84)   CHECK                       CSC
08/16/2018   35338             (124.61)   CHECK                       Comdata, Inc.
08/10/2018   35339           (1,000.00)   CHECK                       RTC Recovery LLC
08/28/2018   35340               (6.00)   CHECK                       Lawrence County Tax Office
08/17/2018   35341           (5,874.45)   CHECK                       KENWORTH OF INDIANAPOLIS Inc
                                                                                                              Case 18-20668




08/27/2018   35342           (2,936.89)   CHECK                       Insurance Auto Auctions
08/27/2018   35343             (475.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35344           (1,585.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35345             (825.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35346           (1,675.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35347           (1,405.85)   CHECK                       Insurance Auto Auctions
08/27/2018   35348           (1,741.04)   CHECK                       Insurance Auto Auctions
08/27/2018   35349             (598.50)   CHECK                       Insurance Auto Auctions
08/27/2018   35350           (1,320.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35351             (175.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35352           (1,450.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35353             (345.00)   CHECK                       Insurance Auto Auctions
08/27/2018   35354             (706.12)   CHECK                       Insurance Auto Auctions
08/27/2018   35355           (1,475.00)   CHECK                       Insurance Auto Auctions
                                                                                                              Doc 246
08/27/2018   35356    (1,990.00)   CHECK                       Insurance Auto Auctions
08/21/2018   35357      (250.00)   CHECK                       3D Vehicle Recovery Inc
                                                                                                      Filed 09/14/18




08/21/2018   35358    (1,040.00)   CHECK                       3D Vehicle Recovery Inc
08/23/2018   35359    (1,769.13)   CHECK                       Copart Auto Auctions
08/23/2018   35360      (295.36)   DEPOSITED OR CASHED CHECK   CTP Enterprises
08/30/2018   35361      (285.00)   CHECK                       Dekra Automotive
08/30/2018   35362      (285.00)   CHECK                       Dekra Automotive
08/27/2018   35364    (2,185.00)   CHECK                       Insurance Auto Auctions
08/23/2018   35365    (8,215.38)   CASHED CHECK                Robert Toombs
08/24/2018   35366    (1,069.40)   CHECK                       The Hartford
08/27/2018   35367      (484.98)   CHECK                       Placer County Tax Collector
08/27/2018   35368      (152.00)   CHECK                       Experian
08/17/2018   35369    (3,060.55)   DEPOSITED OR CASHED CHECK   Kyle McMillian
08/24/2018   35371    (5,940.00)   CHECK                       Boomi, Inc.
08/24/2018   35372      (920.00)   CHECK                       Truck Paper
08/29/2018   35374    (1,517.47)   CHECK                       North Carolina Department of Revenue
08/29/2018   35375    (2,113.78)   CHECK                       North Carolina Department of Revenue
08/23/2018   35376    (5,499.00)   CHECK                       NFP Property & Casualty
08/23/2018   35377   (13,200.00)   CHECK                       NFP Property & Casualty
08/27/2018   35378       (25.97)   CHECK                       FedEx
                                                                                                      Case 18-20668




08/27/2018   35379       (25.85)   CHECK                       FedEx
08/28/2018   35380      (990.00)   CHECK                       Sandhills Cloud
08/27/2018   35382       (50.00)   CHECK                       Dealertrack Collateral
08/31/2018   35385    (1,099.40)   CHECK                       The Hartford
                                                                                                      Doc 246
Date       Amount         Check Numb Description
08/31/2018   (1,099.40)   35385      CHECK
                                                                                                                               Filed 09/14/18




08/31/2018     (509.69)              ADP PAYROLL FEES ADP ‐ FEES 180831 8YJ49 2866018 Nations First Capital 9659605001 8YJ49
08/31/2018 (37,800.00)               WT SEQ125968 SALESFORCE.COM INC. /BNF=SALESFORCE.COM INC. SRF# 0000401243874192
08/31/2018       (7.00)              RECURRING PAYMENT AUTHORIZED ON 08/30 USPS.COM CLICKNSHI 800‐344‐7779 DC
08/31/2018    1,735.09               eDeposit in Branch/Store 08/31/18 05:26:45 PM 3601 EASTEX FWY HOUSTON TX
08/31/2018    1,000.00               DEPOSIT MADE IN A BRANCH/STORE
08/30/2018     (285.00)   35361      CHECK
08/30/2018     (285.00)   35362      CHECK
08/29/2018   (2,113.78)   35375      CHECK
08/29/2018   (1,517.47)   35374      CHECK
08/28/2018       (6.00)   35340      CHECK
08/28/2018     (990.00)   35380      CHECK
08/27/2018      (50.00)   35382      CHECK
08/27/2018     (484.98)   35367      CHECK
08/27/2018   (2,936.89)   35342      CHECK
08/27/2018   (2,185.00)   35364      CHECK
08/27/2018   (1,990.00)   35356      CHECK
08/27/2018   (1,741.04)   35348      CHECK
08/27/2018   (1,675.00)   35346      CHECK
                                                                                                                               Case 18-20668




08/27/2018   (1,585.00)   35344      CHECK
08/27/2018   (1,475.00)   35355      CHECK
08/27/2018   (1,450.00)   35352      CHECK
08/27/2018   (1,405.85)   35347      CHECK
08/27/2018   (1,320.00)   35350      CHECK
08/27/2018     (825.00)   35345      CHECK
08/27/2018     (706.12)   35354      CHECK
08/27/2018     (598.50)   35349      CHECK
08/27/2018     (475.00)   35343      CHECK
08/27/2018     (345.00)   35353      CHECK
08/27/2018     (175.00)   35351      CHECK
08/27/2018      (25.97)   35378      CHECK
08/27/2018      (25.85)   35379      CHECK
08/27/2018   (3,256.34)              KAISER GROUP DUE INTERNET 180824 0XXXXXXXXX98286 1XXXXXXXXXXXX690056596 9049040030
                                                                                                                               Doc 246
08/27/2018      (152.00)   35368   CHECK
08/24/2018      (920.00)   35372   CHECK
                                                                                                                             Filed 09/14/18




08/24/2018    (1,069.40)   35366   CHECK
08/24/2018    (5,940.00)   35371   CHECK
08/24/2018      (461.26)           ADP PAYROLL FEES ADP ‐ FEES 180824 10J49 2347368 Nations First Capital 9659605001 10J49
08/24/2018      (412.89)           COMMWLTHOFPA INT PASTSALETX 170131 XXXXX7681 TXP*86172769 *1052
08/24/2018      (358.95)           COMMWLTHOFPA INT PASTSALETX 180731 XXXXX7681 TXP*86172769 *1052
08/24/2018      (129.00)           PURCHASE AUTHORIZED ON 08/22 BILL.COM, INC. 650‐3533301 CA S588234401610118 CARD 8883
08/23/2018   (13,200.00)   35377   CHECK
08/23/2018    (1,769.13)   35359   CHECK
08/23/2018    (5,499.00)   35376   CHECK
                                   STATE OF LOUISIA EPOSPYMNTS 1698009001
08/23/2018     (851.37)            TXP*1698009001*04101*180630*T*85137*Z*180822*TAP31726000805 1698009001
                                   STATE OF LOUISIA EPOSPYMNTS 1698009001
08/23/2018     (295.16)            TXP*1698009001*04101*180731*T*29516*Z*180822*TAP81726000805 1698009001
                                   COMMWLTHOFPA INT PASTSALETX 180630 XXXXX7681 TXP*86172769 *1052
08/23/2018     (291.38)            *180630*T*0000029138* *P1236003133 462217681 0R00000091004452646841
                                   KY.GOV KYSECOFSTA 180822 502‐875‐3733 NATIONS FIRST CAPITAL 1522077581 502‐875‐3733
08/23/2018      (15.00)            0R00000091004452646842
08/23/2018     (295.36)    35360   DEPOSITED OR CASHED CHECK
                                                                                                                             Case 18-20668




08/23/2018   (8,215.38)    35365   CASHED CHECK
08/23/2018   50,000.00             eDeposit in Branch/Store 08/23/18 04:46:37 PM 781 PLEASANT GROVE BLVD ROSEVILLE CA
08/22/2018      (88.00)            AR DFA REVENUE PAYMENT 76263247
08/22/2018    3,330.36             eDeposit in Branch/Store 08/22/18 03:42:58 PM 781 PLEASANT GROVE BLVD ROSEVILLE CA
08/21/2018   (1,040.00)    35358   CHECK
08/21/2018     (250.00)    35357   CHECK
08/21/2018   (1,877.78)            MI Business Tax Payment 180820 SMIBUS002222783 CookDavey 9037133001 SMIBUS002222783
08/21/2018     (604.78)            IL DEPT OF REVEN EDI PYMNTS 00001759002400 TXP*46221768101*20099*20161231*T*60478\
08/21/2018      (36.70)            IN SALES/USE TAX INTAX 180820 18Z00234162833 0019011XXXXXXXXXXXX81748 9180019TAX
08/21/2018      (31.62)            IN SALES/USE TAX INTAX 180820 18Z00234162834 0019101XXXXXXXXXXXX81748 9180019TAX
08/21/2018      (26.47)            IN SALES/USE TAX INTAX 180820 18Z00234162831 001910131031130817181748 9180019TAX
08/21/2018      (14.75)            IN SALES/USE TAX INTAX 180820 18Z00234162835 0019111XXXXXXXXXXXX81748 9180019TAX
08/21/2018       (1.60)            IN SALES/USE TAX INTAX 180820 18Z00234162832 0019111311XXXXXXXXXX1748 9180019TAX
08/21/2018       (0.16)            TN STATE REVENUE TN TAP 180820 XXXXX8464 NATIONS FIRST CAPITAL W626001445 508478464
                                                                                                                             Doc 246
08/20/2018   (13,010.13)         ADP Tax ADP Tax 180820 03J49 082033A01 NATIONS FIRST CAPITAL 1223006057 03J49 082033A01
08/20/2018    (9,395.97)         GEORGIA ITS TAX GA TX PYMT 180817 1316141008 X 2586002015 1316141008
                                                                                                                           Filed 09/14/18




08/20/2018      (671.91)         TN STATE REVENUE TN TAP 180817 75445248 NATIONS FIRST CAPITAL W626001445 75445248
08/20/2018      (644.00)         TN STATE REVENUE TN TAP 180817 1950946304 NATIONS FIRST CAPITAL W626001445 1950946304
08/20/2018      (376.22)         AFLAC INSURANCE 081618 KWW55590106 GO CAPITAL 2580663085 KWW55590106
08/20/2018      (116.96)         WA DEPT REVENUE TAX PYMT 180816 1264032 GO CAPITAL 9916001118 1264032
08/20/2018       (84.63)         WA DEPT REVENUE TAX PYMT 180816 1313047 GO CAPITAL 9916001118 1313047
08/20/2018       (76.61)         WA DEPT REVENUE TAX PYMT 180816 1334528 GO CAPITAL 9916001118 1334528
08/20/2018    (8,517.80)         FLA DEPT REVENUE C01 59328011 DAVEY COOK 7596001874 59328011 0R00000091003653248905
08/20/2018    (2,280.45)         MSDEPTOFREVENUE TAXPAYMENT M422074624 GO CAPITAL 1646000832 M422074624
08/20/2018    (1,764.00)         FLA DEPT REVENUE C01 59327999 DAVEY COOK 7596001874 59327999 0R00000091003653248900
08/20/2018      (960.87)         FLA DEPT REVENUE C01 59328001 DAVEY COOK 7596001874 59328001 0R00000091003653248901
08/20/2018      (938.04)         FLA DEPT REVENUE C01 59328002 DAVEY COOK 7596001874 59328002 0R00000091003653248902
08/20/2018      (763.67)         FLA DEPT REVENUE C01 59328005 DAVEY COOK 7596001874 59328005 0R00000091003653248903
08/20/2018      (649.70)         FLA DEPT REVENUE C01 59328007 DAVEY COOK 7596001874 59328007 0R00000091003653248904
08/20/2018      (589.85)         FLA DEPT REVENUE C01 59328012 DAVEY COOK 7596001874 59328012 0R00000091003653248906
08/20/2018      (540.54)         AL‐DEPT OF REV DIRECT DBT 991231 1700819584 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (516.93)         AL‐DEPT OF REV DIRECT DBT 991231 1641689728 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (500.95)         AL‐DEPT OF REV DIRECT DBT 991231 62403200 GO CAPITAL LEASING COM ADORCCD000 62403200
08/20/2018      (446.22)         AL‐DEPT OF REV DIRECT DBT 991231 1748181632 GO CAPITAL LEASING COM ADORCCD000
                                                                                                                           Case 18-20668




08/20/2018      (445.27)         AL‐DEPT OF REV DIRECT DBT 991231 2120192640 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (439.80)         AL‐DEPT OF REV DIRECT DBT 991231 2023150208 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (405.54)         AL‐DEPT OF REV DIRECT DBT 991231 1255813760 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (380.51)         AL‐DEPT OF REV DIRECT DBT 991231 XXXXX9712 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (380.24)         COMM OF MASS EFT MA DOR PAY 180817 XXXXX3616 GO CAPITAL LEASING COM 4602285821
08/20/2018      (371.79)         AL‐DEPT OF REV DIRECT DBT 991231 1683632768 GO CAPITAL LEASING COM ADORCCD000
08/20/2018      (188.98)         COMM OF MASS EFT MA DOR PAY 180817 1546858240 GO CAPITAL LEASING COM 4602285821
08/20/2018      (157.65)         AL‐DEPT OF REV DIRECT DBT 991231 1483715200 GO CAPITAL LEASING COM ADORCCD000
08/20/2018        (0.64)         AZ DEPT OF REV CCDDIR.DBT XXXXX3360 NATIONS FIRST CAPITAL 4866004791 109763360
08/17/2018    (5,874.45) 35341   CHECK
08/17/2018   (29,092.40)         ADP WAGE PAY WAGE PAY 180817 537068765107J49 NATIONS FIRST CAPITAL 9333006057
08/17/2018    (2,030.97)         CODPTOFREV CO.GO CODPTOFREV 303‐534‐3468 James Daniel Summers 1522077581 303‐534‐3468
08/17/2018    (2,307.34)         AZ DEPT OF REV CCDDIR.DBT XXXXX3360 NATIONS FIRST CAPITAL 4866004791 109763360
08/17/2018    (1,414.86)         MI Business Tax Payment 180816 SMIBUS002212027 ParkerHeather 9037133001 SMIBUS002212027
                                                                                                                           Doc 246
08/17/2018    (1,196.83)           AL‐DEPT OF REV DIRECT DBT 991231 XXXXX9856 GO CAPITAL LEASING COM ADORCCD000
08/17/2018    (1,003.78)           AR DFA REVENUE PAYMENT 76263247
                                                                                                                             Filed 09/14/18




08/17/2018      (196.78)           NEVADA TAX 7756842099 B18228 811270530524 STEPHANIE YEE 8860000130 811270530524
08/17/2018       (70.16)           MN DEPT OF REVEN MN Rev pay 180817 000000079138979 GO CAPITAL X416007162
08/17/2018       (57.02)           AR DFA REVENUE PAYMENT 76263247
08/17/2018    (3,060.55)   35369   DEPOSITED OR CASHED CHECK
08/17/2018      (750.00)   35336   DEPOSITED OR CASHED CHECK
08/17/2018       (24.90)           RECURRING PAYMENT AUTHORIZED ON 08/16 USPS.COM CLICKNSHI 800‐344‐7779 DC
08/16/2018      (124.61)   35338   CHECK
08/16/2018      (291.20)           MSDEPTOFREVENUE TAXPAYMENT M108341504 GO CAPITAL 1646000832 M108341504
08/16/2018      (247.54)           MSDEPTOFREVENUE TAXPAYMENT M208681216 GO CAPITAL 1646000832 M208681216
08/15/2018    80,538.26            WT FED#01300 TRUST OUTGOING WIR /ORG=GO CAPITAL FUNDING 2014‐1 516 GIBSO SRF#
08/15/2018   125,000.00            WT FED#01335 TRUST OUTGOING WIR /ORG=GO CAPITAL FUNDING 2014‐1 516 GIBSO SRF#
08/14/2018      (231.84)   35337   CHECK
08/13/2018    (5,302.08)   35335   CHECK
08/13/2018      (400.00)           POSTALIA TDCPOSTAGE 106000585625 GO CAPITAL 1381716563 106000585625
08/13/2018       (44.00)           RECURRING PAYMENT AUTHORIZED ON 08/12 MSFT * E03006D5XI 800‐642‐7676 WA
08/13/2018      (120.00)           RECURRING PAYMENT AUTHORIZED ON 08/12 MSFT * E03006D5AD 800‐642‐7676 WA
08/13/2018       (80.00)           RECURRING PAYMENT AUTHORIZED ON 08/12 MSFT * E03006D5BY 800‐642‐7676 WA
08/13/2018      (600.00)           PURCHASE AUTHORIZED ON 08/10 BILL.COM, INC. 650‐3533301 CA SXXXXXXXXX321676 CARD 8883
                                                                                                                             Case 18-20668




08/13/2018      (150.26)           CLIENT ANALYSIS SRVC CHRG 180810 SVC CHGE 0718 000002675804856 DP12104288 SVC CHGE
08/10/2018    (1,000.00)   35339   CHECK
08/10/2018      (125.00)   35187   CHECK
08/10/2018      (125.00)   35186   CHECK
08/10/2018      (400.00)           POSTALIA TDCPOSTAGE 106000585625 GO CAPITAL 1381716563 106000585625
08/10/2018      (400.00)           POSTALIA TDCPOSTAGE 106000585625 GO CAPITAL 1381716563 106000585625
08/10/2018      (118.17)           ADP PAYROLL FEES ADP ‐ FEES 180810 10J49 0254603 Nations First Capital 9659605001 10J49
08/10/2018    (5,000.00)           WITHDRAWAL MADE IN A BRANCH/STORE
08/10/2018        (7.00)           RECURRING PAYMENT AUTHORIZED ON 08/09 USPS.COM CLICKNSHI 800‐344‐7779 DC
08/09/2018       (89.80)           PURCHASE AUTHORIZED ON 08/08 PACER800‐676‐6856I 800‐676‐6856 TX SXXXXXXXXX265313 CARD
08/08/2018      (200.00)   35327   CHECK
08/08/2018    (4,454.70)           FIRST INSURANCE INSURANCE 900‐5628573 NDIP Nations First Cap 2363437365 900‐5628573
08/08/2018    (3,651.24)           FIRST INSURANCE INSURANCE 900‐5595376 NDIP Nations First Cap 2363437365 900‐5595376
08/08/2018       (15.00)   35175   CHECK
                                                                                                                             Doc 246
08/07/2018      (255.71)           WA DEPT REVENUE TAX PYMT 180803 1250791 GO CAPITAL 9916001118 1250791
08/07/2018      (182.03)           WA DEPT REVENUE TAX PYMT 180803 1263636 GO CAPITAL 9916001118 1263636
                                                                                                                              Filed 09/14/18




08/07/2018        (7.00)           RECURRING PAYMENT AUTHORIZED ON 08/06 USPS.COM CLICKNSHI 800‐344‐7779 DC
08/06/2018      (300.00)   35318   CHECK
08/06/2018   (21,486.51)   35333   CHECK
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 1020280880 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 1452134608 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 XXXXX4432 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 1188235600 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 86175952 GO CAPITAL LEASING COM 2586002015 86175952
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 XXXXX9600 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 1073334160 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 1585997104 GO CAPITAL LEASING COM 2586002015
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 31597520 GO CAPITAL LEASING COM 2586002015 31597520
08/06/2018    (3,037.79)           GEORGIA ITS TAX GA TX PYMT 180803 XXXXX2544 GO CAPITAL LEASING COM 2586002015
08/06/2018    (1,265.61)           GEORGIA ITS TAX GA TX PYMT 180803 1468911824 GO CAPITAL LEASING COM 2586002015
08/06/2018    (5,686.59)           FLA DEPT REVENUE C01 58403607 Nations First C 7596001874 58403607 0R00000091004552933354
08/06/2018    (5,289.00)           CA DEPT TAX FEE CDTFA EPMT 180803 671213 GO CAPITAL 2822162215 671213
08/06/2018    (1,359.00)           MN DEPT OF REVEN MN Rev pay 180806 000000079180955 GO CAPITAL X416007162
08/06/2018      (859.40)           AZ DEPT OF REV CCDDIR.DBT XXXXX3360 NATIONS FIRST CAPITAL 4866004791 109763360
                                                                                                                              Case 18-20668




08/06/2018       364.06            eDeposit in Branch/Store 08/06/18 04:06:15 PM 781 PLEASANT GROVE BLVD ROSEVILLE CA
08/03/2018        (6.00)   35331   CHECK
08/03/2018    (5,338.20)   35332   CHECK
08/03/2018    (9,562.02)           ADP Tax ADP Tax 180803 03J49 080331A01 NATIONS FIRST CAPITAL 1223006057 03J49 080331A01
08/03/2018      (509.69)           ADP PAYROLL FEES ADP ‐ FEES 180803 8YJ49 9195955 Nations First Capital 9659605001 8YJ49
08/03/2018      (309.45)           WA DEPT REVENUE TAX PYMT 180801 1348364 GO CAPITAL 9916001118 1348364
08/02/2018   (26,527.35)           ADP WAGE PAY WAGE PAY 180802 553046887658J49 NATIONS FIRST CAPITAL 9333006057
08/02/2018      (450.00)           PURCHASE AUTHORIZED ON 08/01 RECOVERY DATABASE 817‐204‐0298 AZ SXXXXXXXXX865470
08/01/2018       (15.00)   35329   CHECK
08/01/2018       (35.00)   35242   CHECK
                                                                                                                              Doc 246
